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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF MARYLAND
                                         at Baltimore
                                In re:   Case No.: 19−14856 − MMH           Chapter: 7

Daniel J. Kelly Jr.
Debtor

                      NOTICE OF REQUIREMENT TO FILE THE
             CERTIFICATION ABOUT A FINANCIAL MANAGEMENT COURSE
                                (Official Form 423)


    Notice is hereby given that, subject to limited exceptions, a debtor must complete an instructional course in
Personal Financial Management and file the Certification About a Financial Management Course(Official Form 423)
by 7/19/19 unless an approved provider has notified the Court that a debtor has completed the course.

     The Certification About a Financial Management Course(Official Form 423) is a statement by an individual
debtor or joint debtors certifying that they have completed an instructional course in personal financial management
from an approved personal financial management provider. It is required to be filed pursuant to Federal Rules of
Bankruptcy Procedures, Rule 1007(b)(7). The Financial Management Course is obtained after the bankruptcy petition
is filed.

    If the debtor does not file the Certification About a Financial Management Course(Official Form 423) by the due
date stated on this notice or the Court has not been notified by an approved provider that the debtor has completed the
course, the case will be closed without a discharge. The debtor will have to file a motion to reopen the case to allow
for the filing of the certificate of completion of a course in Personal Financial Management. The debtor must pay the
full filing fee for such motion.

    Information on the Personal Financial Management Course can be found on the U.S. Trustee Program web site:
http://www.usdoj.gov/ust/eo/bapcpa/ccde/de_approved.htm

   Please note, the Personal Financial Management Course Certificate should not be confused with the Certificate of
Credit Counseling which should be filed with the petition. The Certification About a Financial Management
Course(Official Form 423) is a separate filing requirement.


Dated: 4/11/19
                                                           Mark A. Neal, Clerk of Court
                                                           by Deputy Clerk, Mark Rybczynski
                                                           Team Phone: 410−962−0794


Form definmgt (12/2015)
